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                           THE STATE OF NEW HAMPSHIRE
                                 SUPERIOR COURT
                                MERRIMACK COUNTY


      I, Catherine Ruffle, Clerk of the Superior Court of the State of New Hampshire for

the County of Merrimack, the same being a court of record having a seal, and having

custody of the records of the said Superior Court, do hereby certify that the attached are

true copies of Complaint, Summons on Complaint, Return of Service, Notice of removal.

in the action 217-2020-cv-00329 Ginger Simonds v. Office of Public Guardian of said

Superior Court.




                                               In witness whereof I have hereunto set my hand
                                                   and affixed the seal of said Superior Court at

                                                               this 7th day of August A.D. 2020




                                                                                 Clerk of Superior Court




                        This is a Service Document For Case: 217-2020-CV-00329
                                        Merrimack Superior Court
                                           8/11/2020 12:18 PM
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                                 STATE OF NEW HAMPSHIRE

MERRIMACK COUNTY                                                                      SUPERIOR COURT

                                        217-2020-CV-00329

                                        GINGER SIMONDS

                                                    v.

                               OFFICE OF PUBLIC GUARDIAN


                     NOTICE OF FILING OF NOTICE OF REMOVAL


       PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§1441 and 1446, Defendant,

Office of Public Guardian, by its attorneys, Jackson Lewis P.C., has this day filed in the Clerk’s

Office of the United States District Court for the District of New Hampshire, Concord, New

Hampshire, a Notice of Removal of this case, as shown by copy attached, and in accordance with

the above statute, the State Court proceedings should proceed no further herein, unless and until

the case is remanded.



                                                 Respectfully Submitted,

                                                 OFFICE OF PUBLIC GUARDIAN,
                                                 By its attorneys,
                                                 JACKSON LEWIS P.C.,

Date: August 7, 2020                             By:      /s/ K. Joshua Scott
                                                          K. Joshua Scott, NH Bar #17479
                                                          100 International Drive, Suite 363
                                                          Portsmouth, NH 03801
                                                          603.559.2700
                                                          joshua.scott@jacksonlewis.com


                                                                      True Copy Attest



                                                                       Amy M. Feliciano, Clerk of Court
                                                                            August 7, 2020
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                                      Certificate of Service

        I hereby certify that copies of the foregoing were this day served via email on counsel for
Plaintiff, Sean List, Esq. at slist@backusmeyer.com and via the state court’s electronic filing
system for Merrimack County Superior Court.


Date: August 7, 2020                         By:     /s/K. Joshua Scott
                                                     K. Joshua Scott




                                                        True Copy Attest
                                                                 True Copy Attest




                                                                 Amy M. Feliciano, Clerk of Court
                                                                      August 7, 2020
                                                                                                    True Copy Attest




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                                                                                                         August 7, 2020




                                                        Amy M. Feliciano, Clerk of Court
                                                               August 7, 2020




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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW HAMPSHIRE

GINGER SIMONDS,

       Plaintiff

v.                                                            Civil Case No. 1:20-CV-______

OFFICE OF PUBLIC GUARDIAN,

       Defendant

                                 NOTICE OF REMOVAL
                              AND DEMAND FOR JURY TRIAL


       Please take notice that pursuant to 28 U.S.C. §§1441 and 1446, Defendant Office of

Public Guardian, by its attorneys, Jackson Lewis, P.C., hereby removes this action from the

Superior Court of the State of New Hampshire, Merrimack County, to the United States District

Court for the District of New Hampshire.

       In support of this notice of removal, defendant states as follows:

       1.       By complaint filed on or about July 2, 2020, Plaintiff instituted a claim against

Defendant in the Merrimack County Superior Court. In accordance with 28 U.S.C. § 1446(a),

true and correct copies of the summons and complaint are attached hereto as Exhibit 1, certified

copies of which will be forwarded upon receipt of the state court record from the Merrimack

County Superior Court.

       2.       Pursuant to 28 U.S.C. § 1446(a), this notice of removal is timely filed within

thirty (30) days of July 9, 2020, the date on which counsel for Defendant first received the

complaint and summons.

       3.       Defendant has not served any answer or responsive pleading to the complaint, nor

made any appearance or argument before the state court.                        True Copy Attest



                                                                               Amy M. Feliciano, Clerk of Court
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       4.       This Court has original jurisdiction over this action by virtue of federal question

jurisdiction pursuant to 28 U.S.C. §1331. Specifically, Plaintiff is alleging violations of the

Americans with Disabilities Act (“ADA”), as well as other claims pursuant to state law including

retaliation and other statutory violations.

       5.       Defendant submits this notice without waiving any defenses to the claims asserted

by Plaintiff or conceding that Plaintiff has pled claims upon which relief can be granted.

       6.       As this action could have been commenced in this Court, removal is proper.

28 U.S.C. §1441(a). Furthermore, this Court may exercise supplemental jurisdiction over the

Plaintiff’s state law claims. See 28 U.S.C. §1367(a).


                                               Respectfully Submitted,

                                               OFFICE OF PUBLIC GUARDIAN,
                                               By its attorneys,
                                               JACKSON LEWIS P.C.,

Date: August 7, 2020                           By:      /s/ K. Joshua Scott
                                                        K. Joshua Scott, NH Bar #17479
                                                        100 International Drive, Suite 363
                                                        Portsmouth, NH 03801
                                                        603.559.2700
                                                        joshua.scott@jacksonlewis.com


                                        Certificate of Service

       I hereby certify that copies of the foregoing were this day served on counsel for Plaintiff,
Sean List, via the Court’s ECF system and electronic mail at slist@backusmeyer.com.


Date: August 7, 2020                           By:      /s/K. Joshua Scott
                                                        K. Joshua Scott


                                                                                True Copy Attest
                                                                                 True Copy Attest




                                                                                 Amy M. Feliciano, Clerk of Court
                                                                                      August 7, 2020
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                             THE STATE OF NEW HAMPSHIRE
                                           JUDICIAL BRANCH
                                             SUPERIOR COURT
Merrimack Superior Court                                                                      Telephone: 1-855-212-1234
5 Court Street                                                                            TTY/TDD Relay: (800) 735-2964
Concord NH 03301                                                                             http://www.courts.state.nh.us


                                  SUMMONS IN A CIVIL ACTION



Case Name:            Ginger Simonds v Office of Public Guardian
Case Number:          217-2020-CV-00329

Date Complaint Filed: July 02, 2020
A Complaint has been filed against Office of Public Guardian in this Court. A copy of the Complaint is
attached.

The Court ORDERS that ON OR BEFORE:
August 21, 2020       Ginger Simonds shall have this Summons and the attached Complaint
                      served upon Office of Public Guardian by in hand or by leaving a copy at
                      his/her abode, or by such other service as is allowed by law.
September 11, 2020            Ginger Simonds shall electronically file the return(s) of service with this
                              Court. Failure to do so may result in this action being dismissed without
                              further notice.
30 days after Defendant       Office of Public Guardian must electronically file an Appearance and
is served                     Answer or other responsive pleading form with this Court. A copy of the
                              Appearance and Answer or other responsive pleading must be sent
                              electronically to the party/parties listed below.

Notice to Office of Public Guardian: If you do not comply with these requirements you will be
considered in default and the Court may issue orders that affect you without your input.
Send copies to:
 Sean Robert List, ESQ                    Backus Meyer & Branch LLP 116 Lowell St PO Box 516
                                          Manchester NH 03105-0516
  Office of Public Guardian               2 Pillsbury Street Suite 400 Concord NH 03301
  Human Rights, New                       2 Industrial Park Drive Concord NH 03301
  Hampshire Commission
                                                                BY ORDER OF THE COURT

July 07, 2020                                                   Catherine J. Ruffle
                                                                Clerk of Court
 (126987)                                                                                               True Copy Attest



                                                                                                        Amy M. Feliciano, Clerk of Court
                                                                                                             August 7, 2020



NHJB-2678-Se (07/01/2018)        This Is a Service Document For Case: 217-2020-CV-00329
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                               THE STATE OF NEW HAMPSHIRE
                                             JUDICIAL BRANCH
                                               SUPERIOR COURT
Merrimack Superior Court                                                                   Telephone: 1-855-212-1234
5 Court Street                                                                         TTY/TDD Relay: (800) 735-2964
Concord NH 03301                                                                          http://www.courts.state.nh.us


                                        GINGER SIMONDS
                                   INSTRUCTIONS FOR SERVICE
                                  BY THE SHERIFF'S DEPARTMENT


Case Name:            Ginger Simonds v Office of Public Guardian
Case Number:          217-2020-CV-00329
Instructions for: Ginger Simonds
The attached Summons must be sent to the Sheriff's Department for service. Service must be completed
on or before August 21, 2020.
Further action is required by you
You must:                                                                                 True Copy Attest
  • Print two copies of the Summons per defendant
  • Print two copies of the Notice to Defendant per defendant
  • Print two copies of the Complaint filed with the Court per defendant                  Amy M. Feliciano, Clerk of Court

  • Make two packets for service. Each packet should contain:                                 August 7, 2020


             o One Summons
             o Once Notice for Defendant
             o One Complaint filed with the Court
  • Mail or hand deliver the packets to the Sheriff's Department in the county where each
       defendant resides.
Sheriff Departments in New Hampshire:
Belknap County Sheriff's Department:          Hillsborough County Sheriff's Department:
                     „.
        County Sheriff's Department:         Merrimack County Sheriff's Department:
Cheshire County Sheriffs Department:         Rockingham County Sheriff's Department:
Coos County   Sheriffs  Department:           Strafford County Sheriff's Department:
Grafton County Sheriff's Department:          Sullivan County Sheriff's Department:

*If one or more of the parties resides out of state, please click here for the requirements*
Service must be made upon the defendant before August 21, 2020.

If the Sheriff is unable to complete service by August 21, 2020 you will receive a "Notice of Incomplete
Service" from the Sheriff's Department. You may request that new paperwork be issued by electronically
filing a Request for Documents. There is a fee for this request.

The Sheriff will mail the 'Return of Service' to you. You MUST electronically file the 'Return of Service'
with the court by September 11, 2020.

If service is not made as directed, no further action will occur and the case may be dismissed by
the court.

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                 Important Service Information for Sheriff
                                        Do not file this with the court
                            Provide this information to the Sheriff's Department.
                             See Instructions for Service for more information.
                                             PLEASE PRINT CLEARLY
Date:                                                     Case #:
Who are you requesting to be served?
Please provide whatever information you know
Name:
Address for service (no P.O. boxes):
                                                                 APT #:


Home phone #:                                      Cell phone #:
Sex: U Male         7       Female                 Race:
Last 4 digits of SS#: xxx-xx-                                                    D.O.B.
Work name & address:


Special instructions for service (i.e. directions, best time to serve, cautions, etc.):
                                                                                            True Copy Attest


Vehicle description/license plate:
                                                                                            Amy M. Feliciano, Clerk of Court
                                                                                                 August 7, 2020
Your Information:
Name (please print):
Residential address:                                             Mailing address:



Phone number to contact you during business hours:
                                           Alternate #:


                                                                 Signature

          +IN-HAND SERVICE WILL INCUR EXTRA COSTS DUE TO ADDITIONAL TRAVEL+

SHERIFF OFFICE USE ONLY: (This will vary by Sheriff's Office)
Fees Paid: $                         Cash #:                     Check#:
Id#:             Waiver:               Money Order#:                             Credit Card:
Sheriff File #                                                             Authorization #:


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Instructions for filing the Return of Service:
If you are working with an attorney, they will guide you on the next steps. If you are going to
represent yourself in this action, go to the court's website: www.courts.state.nh.us, select the
Electronic Services icon and then select the option for a self-represented party.

   1. Select "I am filing into an existing case". Enter 217-2020-CV-00329 and click Next.
   2. When you find the case, click on the link follow the instructions on the screen. On the "What
      would you like to file?" screen, select "File Other Document" and choose "Return of Service".
   3. Scan the Return of Service packet and follow the instructions in the electronic filing program to
      upload the Return of Service to complete your filing.
   4. If the sheriff was unable to serve the paperwork, you can request new paperwork by filing a
      Request for Documents. On the "What would you like to file?" screen, select "File Other
      Document" and choose "Request for Reissued Summons" from the menu and upload the
      Request for Documents form.


FAILURE TO FILE THESE DOCUMENTS MAY RESULT IN YOUR CASE BEING DISMISSED.

July 07, 2020                                           Catherine J. Ruffle
Date                                                    Clerk of Court

You can access documents electronically filed through our Case Access Portal by going to
httbs://odvpa.nhecourt.us/bortal and following the instructions in the User Guide. In that process you
will register, validate your email, request access and approval to view your case. After your
information is validated by the court, you will be able to view case information and documents filed in
your case.

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                                                                          Amy M. Feliciano, Clerk of Court
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                             THE STATE OF NEW HAMPSHIRE
                                   SUPERIOR COURT
                                                                                   217-2020-CV-00329
MERRIMACK, SS                                                    DOCKET NO.


                                      GINGER SIMONDS
                                        289 Vinton Street
                                      Manchester, NH 03103

                                                   v.

                               OFFICE OF PUBLIC GUARDIAN
                                 2 Pillsbury Street, Suite 400
                                     Concord, NH 03301

                                    JURY TRIAL REQUESTED

                                           COMPLAINT


                               I.       NATURE OF THE ACTION

       1.      This action is brought by Ginger Simonds (the "Plaintiff') against the Office of

Public Guardian ("OPG"), also referred to as the "Defendant," for wrongful termination,

disability discrimination and retaliation in violation of the Americans with Disabilities Act (42

U.S. Code § 12112, et al.) and the New Hampshire Law Against Discrimination (NH RSA 354-

A).

                              II.      JURISDICTION AND VENUE

       2.      This Court has jurisdiction over this matter pursuant to NH RSA 491:7.

       3.      Venue is proper in Merrimack County because the Defendant maintains its

principal office in Concord, NH. Additionally, the Plaintiff was employed at the principal office

location.
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                                                                                      Amy M. Feliciano, Clerk of Court
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         4.      The Plaintiff has exhausted her administrative remedy requirements with the New

Hampshire Commission for Human Rights and U.S. Equal Employment Opportunity

Commission.

                                           III.   PARTIES

         5.      The Plaintiff is a New Hampshire resident with an address of 289 Vinton Street,

Manchester, NH 03103.

         6.      The Defendant, Office of Public Guardian, is a private, domestic non-profit

organization with a principal office location of 2 Pillsbury Street, Suite 400, Concord, NH,

03301.

                                            IV.       FACTS

         7.      Ginger Simonds began her employment with OPG on approximately September

22, 2014. She held the position of Public Guardian and made an annual salary of approximately

$52,000.00 per year with multiple job benefits including, but not limited to, health insurance,

dental insurance, disability insurance and an on-call stipend.

         8.      In March of 2019, the Plaintiff suffered from the sudden onset of severe pain in

her back and left leg. She also had a pins and needles feeling running down her leg into her foot.

She was diagnosed with a recurrent lumbar herniation with radiculopathy. This condition

substantially interfered with several major life functions of the Plaintiff including, but not limited

to, bending, walking, lifting, sitting, twisting, sleeping and concentration. It was therefore a

qualifying disability pursuant to the Americans with Disabilities Act, Amendments Act of 2008

(the "ADA") and NH RSA 354-A.

         9.      Beginning on approximately March 16, 2019, Ms. Simonds took a period of

medical leave in order to treat her disability with necessary surgery and recover.

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       10.      The first twelve weeks of Ms. Simonds' leave was protected under the Family and

Medical Leave Act (the "FMLA").

       11.      Throughout her period of leave, the Plaintiff provided multiple notes from her

treating doctors to OPG. She also openly communicated with management regarding her status.

       12.      The Plaintiff underwent back surgery on or about April 11, 2019. Her back

surgery was initially estimated to require a recovery period that would fall within the allotted

twelve weeks of FMLA leave. Unfortunately, Ms. Simonds' recovery took longer than expected,

in part because she was the victim of a sexual assault that left her with further injury. Ms.

Simonds openly communicated her recovery status and the assault she suffered to the Defendant.

       13.      In a letter dated June 14, 2019, OPG informed the Plaintiff that her FMLA leave

had expired on June 9, 2019, and stated she would need to apply for a "personal leave of

absence" to avoid termination. The letter also requested several pieces of information related to

the Plaintiff's disability and ability.to perform her job.

       14.      After the Plaintiff provided the requested information, OPG agreed to extend her

leave through July 22, 2019. As that day approached, the Plaintiff was in frequent contact with

OPG Director of Finance, Andrea Sisson, who performed human resources functions for OPG.

Ms. Simonds also provided further doctor's notes regarding her condition and progress.

        15.      In a letter dated July 19, 2019, Ms. Sisson communicated that Ms. Simonds was

expected to return to work by July 26, 2019, and needed to provide a letter from her doctor

stating that the medication Ms. Simonds was taking would not impair her judgment. Ms.

Simonds provided the requested letter.

        16.     Ms. Simonds requested that OPG accommodate her disability and related surgical

recovery by permitting her to work remotely rather than immediately returning to the office.

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OPG refused this request but did agree to allow Ms. Simonds to work a part-time schedule and

gradually increase her hours to full-time as she recovered.

       17.       In order to avoid paying Ms. Simonds her full salary for a part-time schedule,

OPG changed Ms. Simonds' wage structure to hourly.

       18.       Starting on or about July 29, 2019, the Plaintiff began working in the OPG office

on a part-time schedule.

       19.       Ms. Simonds' recovery was moving forward and her condition was improving.

She felt great to be back at work and was looking forward to her gradual return to a full-time

schedule.

       20.       While Ms. Simonds was working her part-time schedule, management asked her

on a near-daily basis when she would return to full-time duty. The Plaintiff intended to be back

to full-time within a short period but could not answer this question with exact specificity. Ms.

Simonds explained to OPG that she was improving and increasing her hours as she improved.

       21.       Rather than allowing the Plaintiff the time to sufficiently recover from her

disability symptoms and related surgery, OPG suddenly terminated Ms. Simonds' employment

on or about August 13, 2019. The Plaintiff was devastated.

        22.      At the time of Ms. Simonds' termination, OPG did not have a replacement lined

up to fill Ms. Simonds' position. Additionally, OPG had experienced significant difficulty and

delay when seeking employees for guardian positions in the past. Therefore, terminating Ms.

Simonds' employment provided no relief from any alleged difficulty or claimed hardship created

by Ms. Simonds' accommodated schedule.

        23.      OPG advertised and sought applicants for the Plaintiff's employment position

immediately after terminating her employment.                                   True Copy Attest


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                                                                                Amy M. Feliciano, Clerk of Court
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         24.      Upon information and belief, OPG did not obtain a full-time replacement for Ms.

Simonds until October of 2019.

         25.      Ms. Simonds could have returned to full-time work by the time the new, non-

disabled employee began working for OPG.

         26.      OPG has a six-month training period for new guardians. Ms. Simonds' could

have returned to her position without needing the training that the new employee required,

thereby saving money and other resources expended by the Defendant in replacing the Plaintiff.

         27.      Due to the disability discrimination and retaliation perpetrated against the Plaintiff

by the Defendant, and the Defendant's wrongful termination of the Plaintiff's employment, the

Plaintiff has suffered significant damages including, but not limited to, lost wages, lost benefits,

emotional distress, reputational harm, humiliation, inconvenience, loss of life enjoyment and lost

earning capacity. The Plaintiff is further entitled to attorney's fees, interest and costs. The

Plaintiff is also entitled to enhanced compensatory damages under NH RSA 354-A based on the

Defendant's willful or reckless disregard of the Plaintiff's rights and punitive damages for the

Defendant's intentional, malicious or reckless indifference to the Plaintiffs right to be free from

discrimination.

                                         COUNTI
  Disability Discrimination in Violation of the Americans with Disabilities Act 42 U.S.C.
                              12112 et al. and NH RSA 354-A

         28.      The Plaintiff repeats and realleges each allegation contained in the paragraphs

above.

         29.      The Defendant is, and was at all times relevant, a private employer employing

more than fifteen employees. Therefore, the Defendant is a covered employer under the ADA

and NH RSA 354-A.                                                                   True Copy Attest


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          30.      At all times relevant to this matter, the Plaintiff was disabled within the meaning

of the ADA and NH RSA 354-A, as described in the facts section above.

          31.      With the reasonable accommodation of permitting the Plaintiff a short period of

medical leave followed by a gradual transition back to full-time hours, the Plaintiff could

perform the essential functions of her job.          This is evidenced by the Plaintiffs effective

performance of her job duties prior to suffering from disability symptoms requiring surgery and

recovery time.

          32.      Despite the Defendant agreeing to accommodate the Plaintiff with a gradual

return to a full-time schedule, it terminated the Plaintiff a mere two weeks after the Plaintiffs

return.

          33.      The Defendant's motivation for the termination was the Plaintiffs disability and

need for accommodations, as evidenced by the Defendant's constant inquiries as to when the

Plaintiff would return to full-time hours.

          34.      Had the Defendant simply allowed Ms. Simonds the time to recover and return to

a full-time schedule, rather than terminating her after two weeks of incomplete accommodation,

the Defendant could have avoided the delay and expense associated with hiring and training a

non-disabled replacement for the Plaintiff.

          35.      By failing to reasonably accommodate the Plaintiffs disability, failing to

meaningfully engage in the interactive process, and terminating the Plaintiff due to her disability

and need for an accommodation, the Defendant committed disability discrimination in violation

of the both the ADA and NH RSA 354-A.

          36.      As a direct and proximate result of the Defendant's disability discrimination, the

Plaintiff has suffered and continues to suffer damages including, but pot limited to, lost wages,
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lost benefits, emotional distress, reputational harm, humiliation, inconvenience, loss of life

enjoyment and lost earning capacity. The Plaintiff is further entitled to attorney's fees, interest

and costs. The Plaintiff is also entitled to enhanced compensatory damages under N1-1 RSA 354-

A based on the Defendant's willful or reckless disregard of the Plaintiffs rights and punitive

damages for the Defendant's intentional, malicious or reckless indifference to the Plaintiff's right

to be free from discrimination.

                                             COUNT II
                  Retaliation in Violation of the Americans with Disabilities Act,
                              U.S.C. 12112 et al. and NH RSA 354-A

         37.      The Plaintiff repeats and realleges each allegation contained in the paragraphs

above.

         38.      The Plaintiff engaged in conduct protected by both the ADA and NH RSA 354-A

by requesting and utilizing a reasonable accommodation for her disability.

         39.      Specifically, the Plaintiff sought the very reasonable accommodation of a short

period of medical leave followed by a gradual transition back to full-time hours as she recovered

from disability symptoms and a related surgery.

         40.      The Defendant initially agreed to the Plaintiffs accommodation request and the

Plaintiff was permitted to utilize a part-time schedule with gradually increasing hours for two

weeks.

         41.      Rather than allowing the Plaintiff to be fully accommodated and complete her

recovery, the Defendant cut the accommodation short and fired the Plaintiff on or about August

13, 2019.

         42.      By taking adverse employment action against the Plaintiff in response to the

Plaintiffs request and utilization of a reasonable accommodation, the Defendant committed
                                                                                   True Copy Attest

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                                                                                   Amy M. Feliciano, Clerk of Court
                                                                                        August 7, 2020
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unlawful retaliation in violation of NH RSA 354-A, including 354-A:7 and 354-A:19, as well as

the ADA.

         43.      As a direct and proximate result of the Defendant's unlawful retaliation, the

Plaintiff has suffered and continues to suffer damages including, but not limited to, lost wages,

lost benefits, emotional distress, reputational harm, humiliation, inconvenience, loss of life

enjoyment and lost earning capacity. The Plaintiff is further entitled to attorney's fees, interest

and costs. The Plaintiff is also entitled to enhanced compensatory damages under NH RSA 354-

A based on the Defendant's willful or reckless disregard of the Plaintiffs rights and punitive

damages for the Defendant's intentional, malicious or reckless indifference to the Plaintiff's right

to be free from retaliation.

                                           COUNT III
                                       Wrongful Termination

         44.      The Plaintiff repeats and realleges each allegation contained in the paragraphs

above.

         45.      Public policy and both state and federal law supported the Plaintiff in requesting

and utilizing a reasonable accommodation for her disability and related surgery.

         46.      Public policy also supported the Plaintiff in utilizing a short extension to her

medical leave due to post-surgical disability symptoms and the aggravation of said symptoms

due to a sexual assault.

         47.      In retaliation for the Plaintiff engaging in conduct supported by public policy, the

Defendant terminated her employment.            Therefore, the Defendant is liable for wrongful

termination.

         48.      As a direct and proximate result of the Defendant's wrongful termination of the

Plaintiff, the Plaintiff has suffered and continues to suffer damages including, but not limited to,
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                                                                                     Amy M. Feliciano, Clerk of Court
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lost wages, lost benefits, emotional distress, reputational harm, humiliation, inconvenience, loss

of life enjoyment and lost earning capacity. The Plaintiff is also entitled to enhanced

compensatory damages based upon the Defendant's willful or reckless violation of New

Hampshire law pertaining to wrongful termination.

       WHEREFORE, the Plaintiff, Ginger Simonds, respectfully prays this Honorable Court:


       A.      Schedule this matter for trial by jury;


       B.      Find the Defendant liable for all counts alleged herein;


       C.      Award the Plaintiff all damages to which she is entitled,


       D.      Award the Plaintiff her reasonable attorney's fees, interest, and costs; and


       E.      Grant such other and further relief as is just and equitable.


                                                         Respectfully submitted,
                                                         Ginger Simonds,
                                                         By her attorneys,
                                                         BACKUS, MEYER & BRANCH, LLP


Date: July 2, 2020                    By:       /s/ Sean R. List
                                              Sean R. List, NH Bar #266711
                                              116 Lowell Street
                                              Manchester, NH 03104
                                              (603) 668-7272
                                              slist@backusmeyer.coin

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                                                                           August 7, 2020




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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE


GINGER SIMONDS,

        Plaintiff

v.                                                          Civil Case No. 1:20-CV-______

OFFICE OF PUBLIC GUARDIAN,

        Defendant


      NOTICE OF FILING OF NOTICE OF REMOVAL TO PLAINTIFF’S COUNSEL

TO:     Sean List, Esq.
        Backus, Meyer & Branch LLP
        116 Lowell Street
        Manchester, NH 03104
        slist@backusmeyer.com


        PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§1441 and 1446, Defendant Office

of Public Guardian, by and through its attorneys, Jackson Lewis P.C., has this day filed in the

Clerk’s Office of the United States District Court for the District of New Hampshire, Concord,

New Hampshire, a Notice of Removal of this case, as shown by copy attached, and in

accordance with the above statute, the State Court proceedings should proceed no further herein,

unless and until the case is remanded.




                                 [signatures on following page]

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                                                                                 August 7, 2020
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                                                               2 ofof249



                                             Respectfully Submitted,

                                             OFFICE OF PUBLIC GUARDIAN,
                                             By its attorneys,
                                             JACKSON LEWIS P.C.,

Date: August 7, 2020                         By:     /s/ K. Joshua Scott
                                                     K. Joshua Scott, NH Bar #17479
                                                     100 International Drive, Suite 363
                                                     Portsmouth, NH 03801
                                                     603.559.2700
                                                     joshua.scott@jacksonlewis.com


                                      Certificate of Service

        I hereby certify that copies of the foregoing were this day served via email on counsel for
Plaintiff, Sean List, Esq. at slist@backusmeyer.com and via the Court’s ECF system.


Date: August 7, 2020                         By:     /s/K. Joshua Scott
                                                     K. Joshua Scott



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                                                                       Amy M. Feliciano, Clerk of Court
                                                                            August 7, 2020




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                                STATE OF NEW HAMPSHIRE

MERRIMACK COUNTY                                                              SUPERIOR COURT

                                       218-2020-CV-00544

                                      GINGER SIMONDS

                                                v.

                               OFFICE OF PUBLIC GUARDIAN


                     NOTICE OF FILING OF NOTICE OF REMOVAL


       PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§1441 and 1446, Defendant,

Office of Public Guardian, by its attorneys, Jackson Lewis P.C., has this day filed in the Clerk’s

Office of the United States District Court for the District of New Hampshire, Concord, New

Hampshire, a Notice of Removal of this case, as shown by copy attached, and in accordance with

the above statute, the State Court proceedings should proceed no further herein, unless and until

the case is remanded.



                                             Respectfully Submitted,

                                             OFFICE OF PUBLIC GUARDIAN,
                                             By its attorneys,
                                             JACKSON LEWIS P.C.,

Date: August 7, 2020                         By:     /s/ K. Joshua Scott
                                                     K. Joshua Scott, NH Bar #17479
                                                     100 International Drive, Suite 363
                                                     Portsmouth, NH 03801
                                                     603.559.2700
                                                     joshua.scott@jacksonlewis.com


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                                      Certificate of Service

        I hereby certify that copies of the foregoing were this day served via email on counsel for
Plaintiff, Sean List, Esq. at slist@backusmeyer.com and via the state court’s electronic filing
system for Merrimack County Superior Court.


Date: August 7, 2020                         By:     /s/K. Joshua Scott
                                                     K. Joshua Scott


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                                                                    August 7, 2020




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Sean List, Esq., Backus, Meyer & Branch, LLP                                                               K. Joshua Scott, Esq., Jackson Lewis, P.C.; 100 International Drive,
116 Lowell Street, Manchester, NH 03104; 603.668.7272                                                      Suite 363, Portsmouth, NH 03801; 603.559.2711


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         ?c`g 9S[O\R) 8VSQY bVS O^^`]^`WObS P]f b] W\RWQObS eVSbVS` ]` \]b O Xc`g Wa PSW\U RS[O\RSR)

A444& =IPEXIH .EWIW& IVWa aSQbW]\ ]T bVS ?H // Wa caSR b] `STS`S\QS `SZObSR ^S\RW\U QOaSa' WT O\g) >T bVS`S O`S `SZObSR ^S\RW\U QOaSa' W\aS`b bVS R]QYSb
      \c[PS`a O\R bVS Q]``Sa^]\RW\U XcRUS \O[Sa T]` acQV QOaSa)
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/EXI ERH ,XXSVRI[ >MKREXYVI& 9ObS O\R aWU\ bVS QWdWZ Q]dS` aVSSb)

                                                                                                                       Amy M. Feliciano, Clerk of Court
                                                                                                                            August 7, 2020
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            Case 1:20-cv-00842-SM Document 2 Filed 08/11/20 Page 25 of 49                                                               Merrimack Superior Court
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                              THE STATE OF NEW HAMPSHIRE
                                    SUPERIOR COURT
                                                                             217-2020-CV-00329
MERRIMACK, SS                                                     DOCKET NO.__________________


                                       GINGER SIMONDS
                                         289 Vinton Street
                                       Manchester, NH 03103

                                                   v.

                               OFFICE OF PUBLIC GUARDIAN
                                 2 Pillsbury Street, Suite 400
                                     Concord, NH 03301

                                     JURY TRIAL REQUESTED

                                           COMPLAINT


                                I.       NATURE OF THE ACTION

       1.       This action is brought by Ginger Simonds (the “Plaintiff”) against the Office of

Public Guardian (“OPG”), also referred to as the “Defendant,” for wrongful termination,

disability discrimination and retaliation in violation of the Americans with Disabilities Act (42

U.S. Code § 12112, et al.) and the New Hampshire Law Against Discrimination (NH RSA 354-

A).

                              II.      JURISDICTION AND VENUE

       2.       This Court has jurisdiction over this matter pursuant to NH RSA 491:7.

       3.       Venue is proper in Merrimack County because the Defendant maintains its

principal office in Concord, NH. Additionally, the Plaintiff was employed at the principal office

location.
                                                                             True Copy Attest
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                                                                                                    Amy M. Feliciano, Clerk of Court
                                                                                                         August 7, 2020




                                                                              Amy M. Feliciano, Clerk of Court
                                                    1                              August 7, 2020


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                                          Merrimack Superior Court
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         4.       The Plaintiff has exhausted her administrative remedy requirements with the New

Hampshire Commission for Human Rights and U.S. Equal Employment Opportunity

Commission.

                                           III.    PARTIES

         5.       The Plaintiff is a New Hampshire resident with an address of 289 Vinton Street,

Manchester, NH 03103.

         6.       The Defendant, Office of Public Guardian, is a private, domestic non-profit

organization with a principal office location of 2 Pillsbury Street, Suite 400, Concord, NH,

03301.

                                            IV.       FACTS

         7.       Ginger Simonds began her employment with OPG on approximately September

22, 2014. She held the position of Public Guardian and made an annual salary of approximately

$52,000.00 per year with multiple job benefits including, but not limited to, health insurance,

dental insurance, disability insurance and an on-call stipend.

         8.       In March of 2019, the Plaintiff suffered from the sudden onset of severe pain in

her back and left leg. She also had a pins and needles feeling running down her leg into her foot.

She was diagnosed with a recurrent lumbar herniation with radiculopathy. This condition

substantially interfered with several major life functions of the Plaintiff including, but not limited

to, bending, walking, lifting, sitting, twisting, sleeping and concentration. It was therefore a

qualifying disability pursuant to the Americans with Disabilities Act, Amendments Act of 2008

(the “ADA”) and NH RSA 354-A.

         9.       Beginning on approximately March 16, 2019, Ms. Simonds took a period of

medical leave in order to treat her disability with necessary surgery and recover.
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       10.      The first twelve weeks of Ms. Simonds’ leave was protected under the Family and

Medical Leave Act (the “FMLA”).

       11.      Throughout her period of leave, the Plaintiff provided multiple notes from her

treating doctors to OPG. She also openly communicated with management regarding her status.

       12.      The Plaintiff underwent back surgery on or about April 11, 2019. Her back

surgery was initially estimated to require a recovery period that would fall within the allotted

twelve weeks of FMLA leave. Unfortunately, Ms. Simonds’ recovery took longer than expected,

in part because she was the victim of a sexual assault that left her with further injury. Ms.

Simonds openly communicated her recovery status and the assault she suffered to the Defendant.

       13.      In a letter dated June 14, 2019, OPG informed the Plaintiff that her FMLA leave

had expired on June 9, 2019, and stated she would need to apply for a “personal leave of

absence” to avoid termination. The letter also requested several pieces of information related to

the Plaintiff’s disability and ability to perform her job.

       14.      After the Plaintiff provided the requested information, OPG agreed to extend her

leave through July 22, 2019. As that day approached, the Plaintiff was in frequent contact with

OPG Director of Finance, Andrea Sisson, who performed human resources functions for OPG.

Ms. Simonds also provided further doctor’s notes regarding her condition and progress.

       15.      In a letter dated July 19, 2019, Ms. Sisson communicated that Ms. Simonds was

expected to return to work by July 26, 2019, and needed to provide a letter from her doctor

stating that the medication Ms. Simonds was taking would not impair her judgment. Ms.

Simonds provided the requested letter.

       16.      Ms. Simonds requested that OPG accommodate her disability and related surgical

recovery by permitting her to work remotely rather than immediately returning to the office.

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OPG refused this request but did agree to allow Ms. Simonds to work a part-time schedule and

gradually increase her hours to full-time as she recovered.

       17.      In order to avoid paying Ms. Simonds her full salary for a part-time schedule,

OPG changed Ms. Simonds’ wage structure to hourly.

       18.      Starting on or about July 29, 2019, the Plaintiff began working in the OPG office

on a part-time schedule.

       19.      Ms. Simonds’ recovery was moving forward and her condition was improving.

She felt great to be back at work and was looking forward to her gradual return to a full-time

schedule.

       20.      While Ms. Simonds was working her part-time schedule, management asked her

on a near-daily basis when she would return to full-time duty. The Plaintiff intended to be back

to full-time within a short period but could not answer this question with exact specificity. Ms.

Simonds explained to OPG that she was improving and increasing her hours as she improved.

       21.      Rather than allowing the Plaintiff the time to sufficiently recover from her

disability symptoms and related surgery, OPG suddenly terminated Ms. Simonds’ employment

on or about August 13, 2019. The Plaintiff was devastated.

       22.      At the time of Ms. Simonds’ termination, OPG did not have a replacement lined

up to fill Ms. Simonds’ position. Additionally, OPG had experienced significant difficulty and

delay when seeking employees for guardian positions in the past. Therefore, terminating Ms.

Simonds’ employment provided no relief from any alleged difficulty or claimed hardship created

by Ms. Simonds’ accommodated schedule.

       23.      OPG advertised and sought applicants for the Plaintiff’s employment position

immediately after terminating her employment.                             True Copy Attest


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                                                                          Amy M. Feliciano, Clerk of Court
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         24.   Upon information and belief, OPG did not obtain a full-time replacement for Ms.

Simonds until October of 2019.

         25.      Ms. Simonds could have returned to full-time work by the time the new, non-

disabled employee began working for OPG.

         26.   OPG has a six-month training period for new guardians. Ms. Simonds’ could

have returned to her position without needing the training that the new employee required,

thereby saving money and other resources expended by the Defendant in replacing the Plaintiff.

         27.   Due to the disability discrimination and retaliation perpetrated against the Plaintiff

by the Defendant, and the Defendant’s wrongful termination of the Plaintiff’s employment, the

Plaintiff has suffered significant damages including, but not limited to, lost wages, lost benefits,

emotional distress, reputational harm, humiliation, inconvenience, loss of life enjoyment and lost

earning capacity. The Plaintiff is further entitled to attorney’s fees, interest and costs. The

Plaintiff is also entitled to enhanced compensatory damages under NH RSA 354-A based on the

Defendant’s willful or reckless disregard of the Plaintiff’s rights and punitive damages for the

Defendant’s intentional, malicious or reckless indifference to the Plaintiff’s right to be free from

discrimination.

                                         COUNT I
  Disability Discrimination in Violation of the Americans with Disabilities Act, 42 U.S.C.
                              12112 et al. and NH RSA 354-A
         28.   The Plaintiff repeats and realleges each allegation contained in the paragraphs

above.

         29.   The Defendant is, and was at all times relevant, a private employer employing

more than fifteen employees. Therefore, the Defendant is a covered employer under the ADA

and NH RSA 354-A.
                                                                             True Copy Attest


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          30.    At all times relevant to this matter, the Plaintiff was disabled within the meaning

of the ADA and NH RSA 354-A, as described in the facts section above.

          31.    With the reasonable accommodation of permitting the Plaintiff a short period of

medical leave followed by a gradual transition back to full-time hours, the Plaintiff could

perform the essential functions of her job.        This is evidenced by the Plaintiff’s effective

performance of her job duties prior to suffering from disability symptoms requiring surgery and

recovery time.

          32.    Despite the Defendant agreeing to accommodate the Plaintiff with a gradual

return to a full-time schedule, it terminated the Plaintiff a mere two weeks after the Plaintiff’s

return.

          33.    The Defendant’s motivation for the termination was the Plaintiff’s disability and

need for accommodations, as evidenced by the Defendant’s constant inquiries as to when the

Plaintiff would return to full-time hours.

          34.    Had the Defendant simply allowed Ms. Simonds the time to recover and return to

a full-time schedule, rather than terminating her after two weeks of incomplete accommodation,

the Defendant could have avoided the delay and expense associated with hiring and training a

non-disabled replacement for the Plaintiff.

          35.    By failing to reasonably accommodate the Plaintiff’s disability, failing to

meaningfully engage in the interactive process, and terminating the Plaintiff due to her disability

and need for an accommodation, the Defendant committed disability discrimination in violation

of the both the ADA and NH RSA 354-A.

          36.    As a direct and proximate result of the Defendant’s disability discrimination, the

Plaintiff has suffered and continues to suffer damages including, but not limited to, lost wages,

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lost benefits, emotional distress, reputational harm, humiliation, inconvenience, loss of life

enjoyment and lost earning capacity. The Plaintiff is further entitled to attorney’s fees, interest

and costs. The Plaintiff is also entitled to enhanced compensatory damages under NH RSA 354-

A based on the Defendant’s willful or reckless disregard of the Plaintiff’s rights and punitive

damages for the Defendant’s intentional, malicious or reckless indifference to the Plaintiff’s right

to be free from discrimination.

                                           COUNT II
                Retaliation in Violation of the Americans with Disabilities Act,
                            U.S.C. 12112 et al. and NH RSA 354-A
         37.    The Plaintiff repeats and realleges each allegation contained in the paragraphs

above.

         38.    The Plaintiff engaged in conduct protected by both the ADA and NH RSA 354-A

by requesting and utilizing a reasonable accommodation for her disability.

         39.    Specifically, the Plaintiff sought the very reasonable accommodation of a short

period of medical leave followed by a gradual transition back to full-time hours as she recovered

from disability symptoms and a related surgery.

         40.    The Defendant initially agreed to the Plaintiff’s accommodation request and the

Plaintiff was permitted to utilize a part-time schedule with gradually increasing hours for two

weeks.

         41.    Rather than allowing the Plaintiff to be fully accommodated and complete her

recovery, the Defendant cut the accommodation short and fired the Plaintiff on or about August

13, 2019.

         42.    By taking adverse employment action against the Plaintiff in response to the

Plaintiff’s request and utilization of a reasonable accommodation, the Defendant committed

                                                                          True Copy Attest

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unlawful retaliation in violation of NH RSA 354-A, including 354-A:7 and 354-A:19, as well as

the ADA.

         43.   As a direct and proximate result of the Defendant’s unlawful retaliation, the

Plaintiff has suffered and continues to suffer damages including, but not limited to, lost wages,

lost benefits, emotional distress, reputational harm, humiliation, inconvenience, loss of life

enjoyment and lost earning capacity. The Plaintiff is further entitled to attorney’s fees, interest

and costs. The Plaintiff is also entitled to enhanced compensatory damages under NH RSA 354-

A based on the Defendant’s willful or reckless disregard of the Plaintiff’s rights and punitive

damages for the Defendant’s intentional, malicious or reckless indifference to the Plaintiff’s right

to be free from retaliation.

                                         COUNT III
                                     Wrongful Termination
         44.   The Plaintiff repeats and realleges each allegation contained in the paragraphs

above.

         45.   Public policy and both state and federal law supported the Plaintiff in requesting

and utilizing a reasonable accommodation for her disability and related surgery.

         46.   Public policy also supported the Plaintiff in utilizing a short extension to her

medical leave due to post-surgical disability symptoms and the aggravation of said symptoms

due to a sexual assault.

         47.   In retaliation for the Plaintiff engaging in conduct supported by public policy, the

Defendant terminated her employment.          Therefore, the Defendant is liable for wrongful

termination.

         48.   As a direct and proximate result of the Defendant’s wrongful termination of the

Plaintiff, the Plaintiff has suffered and continues to suffer damages including, but not limited to,
                                                                             True Copy Attest
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                                                                             Amy M. Feliciano, Clerk of Court
                                                                                  August 7, 2020
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lost wages, lost benefits, emotional distress, reputational harm, humiliation, inconvenience, loss

of life enjoyment and lost earning capacity. The Plaintiff is also entitled to enhanced

compensatory damages based upon the Defendant’s willful or reckless violation of New

Hampshire law pertaining to wrongful termination.

       WHEREFORE, the Plaintiff, Ginger Simonds, respectfully prays this Honorable Court:

       A.       Schedule this matter for trial by jury;


       B.       Find the Defendant liable for all counts alleged herein;


       C.       Award the Plaintiff all damages to which she is entitled,


       D.       Award the Plaintiff her reasonable attorney’s fees, interest, and costs; and


       E.       Grant such other and further relief as is just and equitable.


                                                          Respectfully submitted,
                                                          Ginger Simonds,
                                                          By her attorneys,
                                                          BACKUS, MEYER & BRANCH, LLP


Date: July 2, 2020                     By:     _/s/ Sean R. List ___________________________
                                               Sean R. List, NH Bar #266711
                                               116 Lowell Street
                                               Manchester, NH 03104
                                               (603) 668-7272
                                               slist@backusmeyer.com

                                                                                True Copy Attest
                                                                                       True Copy Attest




                                                                                       Amy M. Feliciano, Clerk of Court
                                                                                            August 7, 2020




                                                                                Amy M. Feliciano, Clerk of Court
                                                                                     August 7, 2020




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                              THE STATE OF NEW HAMPSHIRE
                                             JUDICIAL BRANCH
                                               SUPERIOR COURT
Merrimack Superior Court                                                                       Telephone: 1-855-212-1234
5 Court Street                                                                             TTY/TDD Relay: (800) 735-2964
Concord NH 03301                                                                              http://www.courts.state.nh.us


                                   SUMMONS IN A CIVIL ACTION



Case Name:             Ginger Simonds v Office of Public Guardian
Case Number:           217-2020-CV-00329

Date Complaint Filed: July 02, 2020
A Complaint has been filed against Office of Public Guardian in this Court. A copy of the Complaint is
attached.

The Court ORDERS that ON OR BEFORE:
August 21, 2020       Ginger Simonds shall have this Summons and the attached Complaint
                      served upon Office of Public Guardian by in hand or by leaving a copy at
                      his/her abode, or by such other service as is allowed by law.
September 11, 2020             Ginger Simonds shall electronically file the return(s) of service with this
                               Court. Failure to do so may result in this action being dismissed without
                               further notice.
30 days after Defendant        Office of Public Guardian must electronically file an Appearance and
is served                      Answer or other responsive pleading form with this Court. A copy of the
                               Appearance and Answer or other responsive pleading must be sent
                               electronically to the party/parties listed below.

Notice to Office of Public Guardian: If you do not comply with these requirements you will be
considered in default and the Court may issue orders that affect you without your input.
Send copies to:
 Sean Robert List, ESQ                     Backus Meyer & Branch LLP 116 Lowell St PO Box 516
                                           Manchester NH 03105-0516
  Office of Public Guardian                2 Pillsbury Street Suite 400 Concord NH 03301
  Human Rights, New                        2 Industrial Park Drive Concord NH 03301
  Hampshire Commission
                                                                 BY ORDER OF THE COURT

July 07, 2020                                                    Catherine J. Ruffle                  True Copy Attest
                                                                 Clerk of Court
(126987)

                                                                                                       Amy M. Feliciano, Clerk of Court
                                                                                                            August 7, 2020




NHJB-2678-Se (07/01/2018)         This is a Service Document For Case: 217-2020-CV-00329
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                               THE STATE OF NEW HAMPSHIRE
                                             JUDICIAL BRANCH
                                               SUPERIOR COURT
Merrimack Superior Court                                                                   Telephone: 1-855-212-1234
5 Court Street                                                                         TTY/TDD Relay: (800) 735-2964
Concord NH 03301                                                                          http://www.courts.state.nh.us


                                        GINGER SIMONDS
                                   INSTRUCTIONS FOR SERVICE
                                  BY THE SHERIFF’S DEPARTMENT


Case Name:             Ginger Simonds v Office of Public Guardian
Case Number:           217-2020-CV-00329
Instructions for: Ginger Simonds
The attached Summons must be sent to the Sheriff’s Department for service. Service must be completed
on or before August 21, 2020.
Further action is required by you
You must:                                                                                True Copy Attest
   Print two copies of the Summons per defendant
   Print two copies of the Notice to Defendant per defendant
   Print two copies of the Complaint filed with the Court per defendant                 Amy M. Feliciano, Clerk of Court

   Make two packets for service. Each packet should contain:
                                                                                             August 7, 2020


             o One Summons
             o Once Notice for Defendant
             o One Complaint filed with the Court
   Mail or hand deliver the packets to the Sheriff’s Department in the county where each
      defendant resides.
Sheriff Departments in New Hampshire:
Belknap County Sheriff’s Department:         Hillsborough County Sheriff’s Department:
Carroll County Sheriff’s Department:         Merrimack County Sheriff’s Department:
Cheshire County Sheriff’s Department:        Rockingham County Sheriff’s Department:
Coos County Sheriff’s Department:            Strafford County Sheriff’s Department:
Grafton County Sheriff’s Department:         Sullivan County Sheriff’s Department:

*If one or more of the parties resides out of state, please click here for the requirements*
Service must be made upon the defendant before August 21, 2020.

If the Sheriff is unable to complete service by August 21, 2020 you will receive a “Notice of Incomplete
Service” from the Sheriff’s Department. You may request that new paperwork be issued by electronically
filing a Request for Documents. There is a fee for this request.

The Sheriff will mail the ‘Return of Service’ to you. You MUST electronically file the ‘Return of Service’
with the court by September 11, 2020.

If service is not made as directed, no further action will occur and the case may be dismissed by
the court.


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                   Important Service Information for Sheriff
                                        Do not file this with the court
                            Provide this information to the Sheriff’s Department.
                             See Instructions for Service for more information.
                                              PLEASE PRINT CLEARLY
Date:                                                     Case #:
Who are you requesting to be served?                                                           True Copy Attest
Please provide whatever information you know
Name:
Address for service (no P.O. boxes):                                                           Amy M. Feliciano, Clerk of Court
                                                                                                    August 7, 2020
                                                                 APT #:


Home phone #:                                      Cell phone #:
Sex:       Male             Female                 Race:
Last 4 digits of SS#: xxx-xx-                                                    D.O.B.
Work name & address:


Special instructions for service (i.e. directions, best time to serve, cautions, etc.):



Vehicle description/license plate:


Your Information:
Name (please print):
Residential address:                                             Mailing address:



Phone number to contact you during business hours:
                                           Alternate #:


                                                                 Signature

          ♦IN-HAND SERVICE WILL INCUR EXTRA COSTS DUE TO ADDITIONAL TRAVEL♦

SHERIFF OFFICE USE ONLY: (This will vary by Sheriff’s Office)
Fees Paid: $                         Cash #:                    Check#:
Id#:             Waiver:               Money Order#:                            Credit Card:
Sheriff File #                                                            Authorization #:


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Instructions for filing the Return of Service:
If you are working with an attorney, they will guide you on the next steps. If you are going to
represent yourself in this action, go to the court’s website: www.courts.state.nh.us, select the
Electronic Services icon and then select the option for a self-represented party.

    1. Select “I am filing into an existing case”. Enter 217-2020-CV-00329 and click Next.
    2. When you find the case, click on the link follow the instructions on the screen. On the “What
       would you like to file?” screen, select “File Other Document” and choose “Return of Service”.
    3. Scan the Return of Service packet and follow the instructions in the electronic filing program to
       upload the Return of Service to complete your filing.
    4. If the sheriff was unable to serve the paperwork, you can request new paperwork by filing a
       Request for Documents. On the “What would you like to file?” screen, select “File Other
       Document” and choose “Request for Reissued Summons” from the menu and upload the
       Request for Documents form.


FAILURE TO FILE THESE DOCUMENTS MAY RESULT IN YOUR CASE BEING DISMISSED.

July 07, 2020                                           Catherine J. Ruffle
Date                                                    Clerk of Court

You can access documents electronically filed through our Case Access Portal by going to
https://odypa.nhecourt.us/portal and following the instructions in the User Guide. In that process you
will register, validate your email, request access and approval to view your case. After your
information is validated by the court, you will be able to view case information and documents filed in
your case.


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                                                                          Amy M. Feliciano, Clerk of Court
                                                                               August 7, 2020




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                               THE STATE OF NEW HAMPSHIRE
                                          JUDICIAL BRANCH
                                           SUPERIOR COURT
Merrimack Superior Court                                                         Telephone: 1-855-212-1234
5 Court Street                                                               TTY/TDD Relay: (800) 735-2964
Concord NH 03301                                                                http://www.courts.state.nh.us


                                       NOTICE TO DEFENDANT
Case Name:                  Ginger Simonds v Office of Public Guardian
Case Number:                217-2020-CV-00329
You have been served with a Complaint which serves as notice that this legal action has been filed
against you in the Merrimack Superior Court. Review the Complaint to see the basis for the
Plaintiff’s claim.
Each Defendant is required to electronically file an Appearance and Answer 30 days after service.
You may register and respond on any private or public computer. For your convenience, there is also
a computer available in the courthouse lobby.
If you are working with an attorney, they will guide you on the next steps. If you are going to
represent yourself in this action, go to the court’s website: www.courts.state.nh.us, select the
Electronic Services icon and then select the option for a self-represented party.
       1. Complete the registration/log in process. Click Register and follow the prompts.
        2. After you register, click Start Now. Select Merrimack Superior Court as the location.
        3. Select “I am filing into an existing case”. Enter 217-2020-CV-00329 and click Next.
        4. When you find the case, click on the link and follow the instructions on the screen. On the
           “What would you like to file?” screen, select “File a Response to Civil Complaint”. Follow
           the instructions to complete your filing.
        5. Review your Response before submitting it to the court.

IMPORTANT: After receiving your response and other filings the court will send notifications and
court orders electronically to the email address you provide.
A person who is filing or defending against a Civil Complaint will want to be familiar with the Rules of
the Superior Court, which are available on the court’s website: www.courts.state.nh.us.
Once you have registered and responded to the summons, you can access documents electronically
filed by going to https://odypa.nhecourt.us/portal and following the instructions in the User Guide. In
that process you will register, validate your email, request access and approval to view your case.
After your information is validated by the court, you will be able to view case information and
documents filed in your case.


If you have questions regarding this process, please contact the court at 1-855-212-1234.

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                                                                                       E-Filed Document




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      August 7, 2020



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                                   Merrimack Superior Court
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unlawful retaliation in violation of NH RSA 354-A, including 354-A:7 and 354-A:19, as well as

the ADA.

         43.      As a direct and proximate result of the Defendant's unlawful retaliation, the

Plaintiff has suffered and continues to suffer damages including, but not limited to, lost wages,

lost benefits, emotional distress, reputational harm, humiliation, inconvenience, loss of life

enjoyment and lost earning capacity. The Plaintiff is further entitled to attorney's fees, interest

and costs. The Plaintiff is also entitled to enhanced compensatory damages under NH RSA 354-

A based on the Defendant's willful or reckless disregard of the Plaintiff's rights and punitive

damages for the Defendant's intentional, malicious or reckless indifference to the Plaintiff's right

to be free from retaliation.


                                           COUNT III
                                       Wrongful Termination

         44.      The Plaintiff repeats and realleges each allegation contained in the paragraphs

above.

         45.      Public policy and both state and federal law supported the Plaintiff in requesting

and utilizing a reasonable accommodation for her disability and related surgery.

         46.      Public policy also supported the Plaintiff in utilizing a short extension to her

medical leave due to post-surgical disability symptoms and the aggravation of said symptoms

due to a sexual assault.

         47.      In retaliation for the Plaintiff engaging in conduct supported by public policy, the

Defendant terminated her employment.            Therefore, the Defendant is liable for wrongful

termination.

         48.      As a direct and proximate result of the Defendant's wrongful termination of the

Plaintiff, the Plaintiff has suffered and continues to suffer damages including, but not limited to,
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                                                                                             August 7, 2020
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